          Case 1:12-cv-12040-DJC Document 11 Filed 04/08/13 Page 1 of 3



                          UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
______________________________________
                                         :
Shirley Gil,                             :
                                         : Civil Action No.: 1:12-cv-12040-MLW
                     Plaintiff,          :
       v.                                :
                                         :
Howard Lee Schiff; and                   :
DOES 1-10, inclusive,                    :
                                         :
                     Defendants.         :
______________________________________ :

                               STIPULATION OF DISMISSAL

       WHEREAS, the parties to the above-entitled action have resolved the issues alleged in

the complaint in this action, and have negotiated in good faith for that purpose; and

       WHEREAS, none of the parties to the above-captioned action is an infant or incompetent

person; and

       WHEREAS, the parties in the above-captioned action wish to discontinue the litigation;

       IT IS HEREBY STIPULATED AND AGREED by and between the parties and/or their

respective counsel as follows that, pursuant to FRCP 41(a)(1)(A)(ii), the above-captioned action

is hereby discontinued against Howard Lee Schiff and Does 1-10, inclusive, with prejudice and

without costs to any party.

 Shirley Gil                                   Howard Lee Schiff

 ___/s/ Sergei Lemberg__________               __/s/ Karen Wisniowski__________

 Sergei Lemberg, Esq.                          Karen Wisniowski
 BBO No.: 650671                               Law Offices Howard Lee Schiff PC
 LEMBERG & ASSOCIATES                          25 Southbridge Street,
 1100 Summer Street, 3rd Floor                 Building 2, Suite 2
 Stamford, CT 06905                            Auburn, MA 01501
 (203) 653-2250                                Attorney for Defendant
 Attorney for Plaintiff
       Case 1:12-cv-12040-DJC Document 11 Filed 04/08/13 Page 2 of 3




_____________________________
SO ORDERED




                                     2
          Case 1:12-cv-12040-DJC Document 11 Filed 04/08/13 Page 3 of 3



                                CERTIFICATE OF SERVICE

       I hereby certify that on April 8, 2013, a true and correct copy of the foregoing Stipulation
of Dismissal was served electronically by the U.S. District Court for the District of
Massachusetts Electronic Document Filing System (ECF), which sent notice of such filing to the
following:

Karen Wisniowski
Law Offices Howard Lee Schiff PC
25 Southbridge Street,
Building 2, Suite 2
Auburn, MA 01501

                                             By_/s/ Sergei Lemberg______
                                                    Sergei Lemberg




                                                 3
